                           Case 2:19-cv-00733-WC Document 8 Filed 11/05/19 Page 1 of 1
                                             UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF ALABAMA
                                                      OFFICE OF THE CLERK
                                                  ONE CHURCH STREET, RM B-110
                                                  MONTGOMERY, ALABAMA 36104

DEBRA P. HACKETT, CLERK
                                                                                         TELEPHONE (334) 954-3600


                                                 November 5, 2019




                          CLERK’S NOTICE OF VOLUNTARY DISMISSAL


            Re: Moody v. Holley Oil Co., Inc.
                Civil Action No. 2:19-cv-00733-WC


            Pursuant to the Notice of Voluntary Dismissal (document # 6) filed by
            Willie Moody, Jr. on 11/1/2019, this case is closed without prejudice
            without an order of the court.
